                 IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF TENNESSEE
                          NASHVILLE DIVISION

DAVID EARL MILLER                             )
NICHOLAS TODD SUTTON                          )
STEPHEN MICHAEL WEST                          )      No. ________________
TERRY LYNN KING                               )
                                              )      Death Penalty Case
        Plaintiffs                            )      Execution date Dec. 6, 2018
                                              )       for David Miller
v.                                            )
                                              )
TONY PARKER, Commissioner,                    )
Tennessee Department of Correction,           )
in his official capacity,                     )
                                              )
        and                                   )
                                              )
TONY MAYS, Warden,                            )
Riverbend Maximum Security                    )
Institution, in his official capacity,        )
                                              )
Defendants.                                   )

                MOTION FOR TEMPORARY RESTRAINING ORDER
              (AFTER NOTICE) AND/OR PRELIMINARY INJUNCTION

        COME NOW Plaintiffs in the above matter and, pursuant to Rule 65, Fed. R.

Civ. P., move this Court to enter an order enjoining Defendants, their agents, and

assigns from carrying out the execution of Plaintiff David Earl Miller presently set

for the 6th day of December, 2018, from presenting Plaintiff Miller with that

“Affidavit Concerning Method of Execution” contained in Tennessee’s July 5, 2018

Lethal Injection Protocol, and from setting execution dates for Plaintiffs Sutton,

West, and King until such time as a final order has been entered herein.




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       In support hereof, Plaintiffs would show to the Court (1) Plaintiffs’ likelihood

they will prevail on each of their constitutional causes of actions; (2) the irreparable

harm to Plaintiffs’ profound interests (and the public’s profound interest) in

enforcement of the highest law in the land if Defendants are allowed to proceed; (3)

the irreparable harm to Plaintiffs’ interest in being free from the infliction of cruel

and unusual punishments if Defendants are allowed to proceed; (4) the harm to

Plaintiff Miller’s interest in being free from being compelled to waive his right to be

free from the infliction of a cruel and unusual method of punishment, death by

electrocution, in order to prevent the infliction of a more cruel and unusual

punishment, death under Tennessee’s July 5, 2018 Lethal Injection Protocol (“July

5, 2018 Protocol”); (5) the harm to Plaintiffs’ right to access to the courts; and, (6)

the harm to all Plaintiffs’ rights to the processes afforded every other federal

plaintiff under the Federal Rules of Civil Procedure and the Due Process under the

Fifth and Fourteenth Amendments of the Constitution of the United States if

Defendants are allowed to proceed far outweigh Defendants’ non-existent interests

in carrying out Plaintiff Miller’s scheduled execution, and/or moving forward toward

carrying out the execution of the remaining Plaintiffs, in a manner which violates

the ex post facto clause of, and/or the Eighth and Fourteenth Amendments to the

Constitution of the United States. Nat'l Credit Union Admin. Bd. v. Jurcevic, 867

F.3d 616, 622 (6th Cir. 2017).

       In further support hereof, Plaintiffs submit the following Memorandum of

Law.



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                             MEMORANDUM OF LAW

I.       Introduction

         The truth about the three-drug Midazolam-based protocol was revealed

during a hearing held in the Chancery Court for Hamilton County, Tennessee

between July 9, 2018, and July 23, 2018. The mask from behind which the

Tennessee Supreme Court faulted death penalty opponents for creating artificial

shortages of more effective anesthetizing drugs1 and Plaintiffs for failing to meet

their Glossip-imposed responsibility to advise their executioners of a better way to

end their lives2 lies in shatters. Dr. David Greenblatt of Tufts University, a man

who was at the heart of the seminal studies into the mechanism of action of

Midazolam and its effects on the human body and is among the most published

authors on those subjects in peer-reviewed journals, has put the lie to the notion

that Midazolam in any dose does, or even can, render an inmate insensate to the

pain created by the drugs used in three-drug Midazolam based lethal injection

protocols. Indeed, the very expert upon which earlier courts relied to find otherwise

(as they allowed execution after execution to go forward under such protocols) was

forced to admit that Dr. Greenblatt’ work (which he had cited as one of the primary

bases for his opinion) did not support that opinion at all.




1Abdur'Rahman v. Parker, No. M2018-01385-SC-RDO-CV, __ S.W.3d. __, 2018 WL
4858002, at *6 (Tenn. Oct. 8, 2018).

2   Id. at *22.
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      This is the truth about what will happen when Tennessee uses its July 5,

2018 three-drug Midazolam-base lethal injection protocol to execute Messrs. Miller,

Sutton, West, and King. While they remain sensate to pain, Midazolam in the

concentration and amount required under Tennessee’s protocol will cause fluid to

accumulate in their lungs and they will feel as if they are being drowned.

Vecuronium bromide will then paralyze their lungs and they will feel as if they had

been buried alive. They will still be sensate when potassium chloride is injected into

their veins and they will experience a burning pain equivalent to “being burned

alive from the inside.” Finally, they will be sensate when, after all that, a sufficient

amount of potassium chloride reaches their heart to cause a massive heart attack

and they will remain sensate until their heart has been stopped long enough for

their brains to be deprived of so much oxygen that their synapses can no longer fire.

This will not last for seconds, or even just a couple of minutes. It will last for 18

minutes or more. This is the truth here. This is the truth revealed by the expert

testimony credited by the Chancery Court of Hamilton County and left wholly

undisturbed by the Tennessee Supreme Court.

      When Defendants respond to this motion, they will not credibly claim

otherwise. They will not credibly claim that Plaintiffs cannot prove that any of the

alternative methods of execution set out in Plaintiffs’ complaint are feasible and

readily implemented methods of execution that in fact significantly reduces a

substantial risk of severe pain than the 18-20 minutes of pain and suffering they

fully intend to inflict on David Earl Miller, Nicholas Todd Sutton, Stephen Michael



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West, and Terry Lynn King. In fact, they will not even credibly claim that the only

method of execution which could have been inflicted on Plaintiffs at the time they

committed their crime would create substantially less pain and suffering than the

protocol they now intend to carry out.

      Instead, they will point to the Tennessee Supreme Court’s decision in

Abdur'Rahman v. Parker, No. M2018-01385-SC-RDO-CV, __ S.W.3d. __, 2018 WL

4858002 (Tenn. Oct. 8, 2018) and note Plaintiffs Miller, Sutton, and West were

parties to that decision. They will claim that – even though Mr. King was not even a

party to that action and even though the claims pled here were not the claims

Miller, Sutton, and West pled in their state court complaint – “equity” requires this

Court to stand by and let them do exactly what they intend, to inflict 18-20 minutes

of what has been repeatedly recognized as nothing less than torture.

      They will be wrong. Equity does require this Court to afford preclusive effect

to a judgment which purports to decide the constitutionality of the July 5, 2018

Protocol when Plaintiffs did not file, and were denied any opportunity to file, a

complaint challenging the July 5, 2018 Protocol. Equity does not require this Court

to afford preclusive effect to a judgment which purports to decide the

constitutionality of July 5, 2018 Protocol, without hearing (in a constitutional sense)

evidence offered only days after that protocol was adopted. Equity does not require

this Court to afford preclusive effect to a judgment which changes evidentiary rules

during the middle of an appeal and applies them retroactively to an already-

completed hearing to exclude material evidence. Finally, equity does not require



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this Court to afford preclusive effect to a judgment to which Plaintiffs were made

party by the court over their express objection and without any basis under state

law for the court to assert personal or subject matter jurisdiction. Put simply, equity

does not require this Court to ignore the fact that Defendants intend to torture the

Plaintiffs to this action simply because the court in Abdur’Rahman did so.

II.      Plaintiffs are Entitled to Temporary and Preliminary and Injunctive
         Relief.

         Here, Plaintiffs seek a temporary restraining order (following notice to

Defendants and an opportunity for them to be heard) and preliminary

injunctive relief enjoining Defendants from presenting Plaintiff David Earl

Miller with that Affidavit Concerning Method of Execution contained in its

July 8, 2018 Protocol (R.1, Attachment 4, p. 92), from carrying out Plaintiff

Miller’s December 6, 2018 execution, and from otherwise moving forward

with the executions of any of the Plaintiffs. In order to determine whether

Plaintiffs are entitled to such relief, the Court must consider: (1) Plaintiffs’

likelihood of success on the merits; (2) whether irreparable harm will occur

absent injunctive relief; (3) whether substantial harm to others will flow from

the proposed injunction; and (4) the broader public interest. Nat'l Credit

Union Admin. Bd. v. Jurcevic, 867 F.3d at 622. Each of these factor weigh in

Plaintiffs’ favor.




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      A.     Plaintiffs are likely to prevail on the merits.

             1.     Abdur'Rahman v. Parker, No. M201801385SCRDOCV, 2018
                    WL 4858002 (Tenn. Oct. 8, 2018) is entitled to no preclusive
                    effect.

      Whether a prior state court judgment is afforded preclusive effect is to be

determined by the effect of that judgment under state law. Gutierrez v. Lynch, 826

F.2d 1534, 1537 (6th Cir. 1987). Under Tennessee law, the doctrine of res judicata,

bars a second suit between the same parties or their privies on the same cause of

action with respect to all issues which were or could have been litigated in the

former suit. Creech v. Addington, 281 S.W.3d 363, 376 (Tenn. 2009). Unlike res

judicata, the related doctrine of collateral estoppel bars only the re-litigation of

issues actually and necessarily reached in the prior judgment. Vandercook, By

Vandercook v. Radcliff, No. 01A01-9406-CV-00250, 1994 WL 697918, at *2 (Tenn.

Ct. App. Dec. 14, 1994); Taylor Grp. v. ANR Storage Co., 24 F. App'x 319, 323 (6th

Cir. 2001). Neither is applicable here.

                    a)     Res judicata.

                           i.     Plaintiff present claims which were not, and
                                  could not have been, presented in
                                  Abdur’Rahman.

      Under Creech, the first question in determining whether Plaintiffs’ claims are

barred under the doctrine of res judicata is whether the three Plaintiffs who are




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parties to Abdur’Rahman3 raised (and/or could have raised) the same causes of

actions in that matter as they raise here.

       The question of what causes of action are raised here is a simple one and it is

answered in a simple manner, by looking to the face of their complaint. First, they

claim Tennessee’s July 5, 2018 Protocol violates the ex post facto clause of the

United States Constitution because it inflicts a harsher punishment than the

maximum punishment they could have received at the time of their crime, death by

electrocution. Complaint, R. 1, Count 1, p. 15. Second, they claim that death by

electrocution, a punishment they cannot receive unless the July 5, 2018 Protocol is

declared unconstitutional, violates the Eighth and Fourteenth Amendments to the

United States Constitution. Complaint, R. 1, Count 2, p. 20. Third, they claim

Tennessee’s July 5, 2018 Protocol violates the Eighth and Fourteenth Amendments

to the United States Constitution. Complaint, R. 1, Count 3, p. 61. Fourth, they

allege forcing them to submit to a method of execution prohibited by the Eighth

Amendment of the United States Constitution to avoid the infliction of an even

harsher punishment prohibited by both the ex post facto clause and the Eighth and

Fourteenth Amendments violates the Fourteenth Amendment, which prohibits the

imposition of any punishment without due process of law. Complaint, R. 1, Count 4,




3 Plaintiff King was not a party to Abdur’Rahman. See Blonder-Tongue Labs., Inc. v.
Univ. of Illinois Found., 402 U.S. 313, 329 (1971) (“Some litigants—those who never
appeared in a prior action—may not be collaterally estopped without litigating the
issue. They have never had a chance to present their evidence and arguments on
the claim. Due process prohibits estopping them despite one or more existing
adjudications of the identical issue which stand squarely against their position.”).
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p. 118. Finally, they allege Defendants will deny them access to the courts even as

the constitutional violations set out in Plaintiffs’ first three counts are occurring.

Complaint, R. 1, Count 5, p. 121.

      The question of what causes of action Plaintiffs Miller, Sutton, and West

raised in Abdur’Rahman should be determined in the same manner, by looking to

their last amended complaint. In their last amended complaint, Plaintiffs Miller,

Sutton, and West raised no claims whatsoever against the July 5, 2018 Protocol, nor

could they have as it was filed on July 3, 2018, two days before the July 5, 2018

Protocol was adopted. Vol. XI, p. 1416.

      Because they could not have challenged the July 5, 2018 Protocol before it

was even adopted, the question follows whether they did raise their current claims,

or could have raised their current claims, against the July 5, 2018 Protocol after it

was adopted. The answer to this question requires the Court to look to the state

court record. That record shows Plaintiffs Miller, Sutton, and West tried, but were

prohibited, from raising any claims against the July 5, 2018 Protocol.

      On July 9, 2018, counsel for Plaintiffs Miller, Sutton, and West stated to the

trial court the July 5, 2018 Protocol was not the subject matter of the lawsuit. They

requested they be afforded an opportunity to file an amended complaint asserting

causes of action against the new July 5, 2018 Protocol and to be afforded due

process on such causes of action. Miller, Sutton, and West stated, however, they had

no objection to going forward with trial on the constitutionality of the January 8,

2018 Protocol because such a hearing would be capable of resolving factual disputes



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common to the two protocols, thus serving the interests of judicial economy and

recognizing the substantial interests of another Plaintiff, Billy Ray Irick, in

developing evidence to use in support of a motion to stay his impending August 9,

2018, execution. TE Vol. XXIV, pp. 32-39. The Chancery Court did not rule upon

Plaintiffs Miller’s Sutton’s, and West’s motion and trial began on July 9, 2018.

      Following trial, Miller, Sutton, and West repeated their request, this time in

their motion to reconsider the Chancery Court’s sua sponte order purportedly

amending the pending complaint over these Plaintiffs’ explicit objection under a

state rule allowing a party to move to amend their pleadings to conform to the

evidence presented at trial. They stated: (1) the claims against the July 5, 2018

Protocol were not properly before the court; (2) the court should resolve only those

claims raised in their pending complaint; and, (3) due process demanded Plaintiffs

Miller, Sutton, and West be allowed to file an amended complaint challenging the

July 5, 2018 Protocol – including allegations regarding alternate methods of

execution to replace Protocol A (“Option A") which the July 5, 2018 Protocol

removed from the face of Tennessee’s lethal injection protocol – and to have that

complaint adjudicated in conformity with the requirements of basic due process.

The court denied their motion, refusing to allow Miller, Sutton, and West to amend

their complaint. Vol. XV, pp. 2141, 2145, 2148-49 n.7; Vol. XVI, pp. 2216-27. On

appeal to the Tennessee Supreme Court, Miller, Sutton, and West limited their

arguments to the constitutionality of the January 8, 2018 Protocol and specifically

informed that court that the Chancery Court had not allowed them to raise claims



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against the July 5, 2018 Protocol. Br. of Pl.-Appellants, in passim; Abdur'Rahman

v. Parker, No. M2018-01385-SC-RDO-CV; id. at p. 42 n.29. Each time they were

denied.

      To the extent Plaintiffs’ argument that the Abdur’Rahman court’s decision is

not entitled to preclusive effect under the doctrine of res judicata (because the court

did not, and could not, have reached the claims presented here) implicates the

correctness of the judgment entered in that decision, the Rooker-Feldman doctrine

does not limit this Court’s jurisdiction.

      The Rooker-Feldman doctrine has been described thusly:

      “[T]he Rooker–Feldman doctrine prevents the lower federal courts from
      exercising jurisdiction over cases brought by ‘state-court losers'
      challenging ‘state-court judgments rendered before the district court
      proceedings commenced.’ ” Id. at 1199 (quoting Exxon Mobil Corp. v.
      Saudi Basic Indus. Corp., 544 U.S. 280, 284 (2005)). The doctrine
      applies “only when a plaintiff complains of injury from the state court
      judgment itself.” Coles v. Granville, 448 F.3d 853, 858 (6th Cir.2006).
      “If the source of the injury is the state court decision, then the Rooker–
      Feldman doctrine would prevent the district court from asserting
      jurisdiction. If there is some other source of injury, such as a third
      party's actions, then the plaintiff asserts an independent claim.”
      McCormick v. Braverman, 451 F.3d 382, 393 (6th Cir.2006).
      Additionally, the Rooker–Feldman doctrine “does not prohibit federal
      district courts from exercising jurisdiction where the plaintiff's claim is
      merely a general challenge to the constitutionality of the state law
      applied in the state action, rather than a challenge to the law's
      application in a particular state case.” Hood v. Keller, 341 F.3d 593,
      597 (6th Cir.2003).

Abbott v. Michigan, 474 F.3d 324, 328 (6th Cir. 2007).

      The first question under Rooker-Feldman is whether the federal complaint

challenges the state court judgment itself. Here it does not. The only issue even

marginally relevant to these proceedings actually reached by the state court is

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whether the plaintiffs to the state court action (assumed, for the purposes of this

argument, to include Plaintiffs) had demonstrated the availability and feasibility of

the former Option A, the one-drug pentobarbital-based protocol.

      After our review of the record and applicable authority, we conclude
      that the inmates failed to carry their burden of showing availability of
      their proposed alternative method of execution—a one-drug protocol
      using pentobarbital—as required under current federal and Tennessee
      law. For this reason, we hold that the inmates failed to establish that
      the three-drug protocol constitutes cruel and unusual punishment
      under the Eighth Amendment to the United States Constitution or
      article I, section 16 of the Tennessee Constitution. This holding
      renders moot the majority of the other issues before us.

Abdur'Rahman, et al., 2018 WL 4858002 at *1 (emphasis added).

      Here, Plaintiffs not only assert additional alternative methods of execution

not considered by the state court, they re-assert the issue specifically left unresolved

by the state court judgment, whether the pain and suffering created by the three-

drug Midazolam-based protocol satisfies the first prong of the Glossip v. Gross, 135

S. Ct. 2726 (2015) inquiry. Accordingly, judgment could be entered in Plaintiffs’

favor without disturbing the state court’s judgment in any way.

      We conclude that the Rooker–Feldman doctrine does not apply.
      Thomas complains of injury resulting from alleged retaliation, not from
      the state court's judgment. Also, the only state-court judgment at issue
      here is the Ingham County Court's dismissal, for failure to pay the
      filing fee, of Thomas's action seeking review of his misconduct
      conviction. The state court never had occasion to determine any issues
      relevant to this case, as it never reached the merits. Moreover, Thomas
      can win his retaliation claim without invalidating any aspect of the
      state court's judgment. See DLX, Inc. v. Kentucky, 381 F.3d 511, 517
      (6th Cir.2004) (rejecting Rooker–Feldman bar when the federal court
      could find for plaintiff without concluding that the state court decided
      any issue wrongly), cert. denied, 544 U.S. 961, 125 S.Ct. 1733, 161




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       L.Ed.2d 603 (2005). For all these reasons, the Rooker–Feldman
       doctrine does not bar Thomas's claim.

Thomas v. Eby, 481 F.3d 434, 438 (6th Cir. 2007).

       Moreover, Rooker-Feldman would not apply even if Plaintiffs’ complaint could

be viewed as an attack on the Tennessee Supreme Court’s decision. To the extent

the judgment rendered in Abdur’Rahman, et al. v. Parker, et al., No. M2018-01385-

SC-RDO-CV, Tennessee Supreme Court (Tenn. October 8, 2018) purports to

adjudicate the constitutionality of the new July 5, 2018 Protocol (as to Miller,

Sutton, and West) on the basis of the Chancery Court’s Rule 15.02 order, it is void.

Each of these Plaintiffs explicitly objected both before and after trial to the state

court’s consideration of the July 5, 2018 Protocol on due process grounds. TE Vol.

XXIV, pp. 32-39; Vol. XV, pp. 2141, 2145, 2148-49 n.7.

       Notwithstanding Plaintiffs’ explicit objection, the trial court sua sponte

ordered the state court plaintiffs’ Second Amended Complaint to be amended to

include the new protocol under Tenn. R. Civ. P. Rule 15.02,4 apparently even as to

the Plaintiffs here. On appeal, the Tennessee Supreme Court, without

acknowledging Plaintiffs’ repeated objections, affirmed.




4 Tenn. R. Civ. P. Rule 15.02 provides, in the pertinent part, “When issues not
raised by the pleadings are tried by express or implied consent of the parties, they
shall be treated in all respects as if they had been raised in the pleadings. Such
amendment of the pleadings as may be necessary to conform to the evidence and to
raise these issues may be made upon motion of any party . . .” (emphasis added.) See
also, In re Tawanna H., 223 Wis. 2d 572, 581, 590 N.W.2d 276, 280 (Ct. App. 1998)
(Juvenile defendant denied due process by trial court’s sua sponte post-trial
amendment of allegations of delinquency to conform to the evidence).
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      The trial court, however, lacked jurisdiction to decide claims related to the

July 5, 2018 Protocol because they were not pled in Plaintiffs’ Second Amended

Complaint. Moreover, as to the Plaintiffs in this action, it could not obtain such

jurisdiction under Tenn. R. Civ. P Rule 15.02 because (a) the plain language of Rule

15.02 does not permit a trial court to sua sponte amend the pleadings before it over

the objection of the party whose pleading it purports to amend; and, more

importantly, (b) even if the practice was allowed under state law, it nonetheless

violates Plaintiffs’ rights to due process. Moreover, to the extent that the Tennessee

Supreme Court upheld the Chancery Court’s assumption of jurisdiction on other

grounds without addressing the jurisdictional issue, the Rooker-Feldman doctrine

does not bar reconsideration of that decision in federal court.

      Very nearly the identical situation was extensively discussed by the Fifth

Circuit Court of Appeals in Burciaga v. Deutsche Bank Nat'l Tr. Co., 871 F.3d 380

(5th Cir. 2017). There, Deutsche Bank filed a foreclosure action in state court

against two Texas homeowners and judgment was granted in the bank’s favor. After

judgment was entered, the homeowners filed a motion to vacate the foreclosure

order and to reopen the case and the motion was granted. Id. at 382-83. Deutsche

Bank sought no review of this decision. The homeowners then filed suit against

Deutsche Bank for trespass to try title and other state remedies. Deutsche Bank

removed the suit to federal court and filed a counterclaim seeking declaratory

judgment, quiet title and judicial foreclosure. The court entered summary judgment

in favor of the bank. Burciaga, 871 F.3d 383. On appeal, the homeowners claimed



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Rooker-Feldman deprived the federal court of jurisdiction to overturn the state

court’s order granting the homeowners’ motion to reopen and setting aside the

bank’s prior foreclosure.

      In resolving the issue, the Fifth Circuit first observed that Deutsche Bank

was indeed asking the federal court to overturn the state court decision. Id. at 385.

Nonetheless, it found Rooker-Feldman did not deprive the federal court of

jurisdiction to do so. Looking to state law, the court observed Texas law did not

permit a foreclosing court to reopen a prior foreclosure decision. It further found the

state court’s attempt to do so void. Id. at 386. Regarding the application of Rooker-

Feldman, the court observed:

      Second, the Vacating Order is void under Texas Law, and we have said
      that Rooker–Feldman does not preclude review of void state court
      judgments. See United States v. Shepherd, 23 F.3d 923, 925 (5th Cir.
      1994) (observing that the Rooker–Feldman doctrine would likely not
      bar federal court review of void state court judgments, although it
      would still preclude jurisdiction to review voidable state court
      judgments); see also Truong [v. v. Bank of Am., N.A., 717 F.3d 377, 383
      n.3 (5th Cir. 2013) (citing Shepherd for the proposition that “Rooker–
      Feldman prohibits a district court from voiding state foreclosure
      judgments, notwithstanding claims that the judgments were
      fraudulently procured” (emphasis added)); Mosley v. Bowie Cty. Tex.,
      275 Fed.Appx. 327, 329 (5th Cir. 2008) (unpublished) (citing Shepherd
      for the proposition that, “[u]nder some circumstances, a federal court
      may review the state court record to determine if the judgment is
      void”)

Id. at 385

      Under Tennessee law, a judgment rendered upon matters outside of the

pleading is void. Lovelace v. Copley, 418 S.W.3d 1, 19 (Tenn. 2013). Like the order

granting the homeowners motion to reopen in Burciaga, the Chancery Court’s



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judgment rendered upon the July 5, 2018 Protocol (which was not, and could not

have been added to the pleadings by the court as to these Plaintiffs after the close of

evidence) was void. Moreover, because the Tennessee Supreme Court failed to

consider whether Tenn. R. Civ. P. Rule 15.02 granted the trial court jurisdiction to

consider claims not raised by these Plaintiffs over their explicit objection, this Court

may, indeed it must, determine in the first instance whether the plain language of

the rule, interpreted consistent with the due process clause of the 14th Amendment,

confers such jurisdiction. See Burciaga v. Deutsche Bank Nat'l Tr. Co., 871 F.3d at

385-387 (construing Texas law). It does not. See, infra at footnote 4.

                           ii.    The judgment rendered in Abdur’Rahman
                                  regarding the constitutionality of Tennessee’s
                                  July 5, 2018 is not entitled to preclusive effect
                                  as to Plaintiffs Miller, Sutton, and West
                                  because they were not afforded a full and fair
                                  opportunity to present claims challenging the
                                  July 5, 2018 Protocol.

      While res judicata bars both claims actually presented, and those which could

have been presented, in an earlier action, it does so only when the Plaintiff has been

afforded a full and fair opportunity to present them. Mangrum v. Wal-Mart Stores,

Inc., 950 S.W.2d 33, 36 (Tenn. Ct. App. 1997). Plaintiffs Miller, Sutton, and West

were afforded no such opportunity in Abdur’Rahman. Here, regardless of whether

the Tennessee state courts determine the trial court had the power to force Miller,

Sutton, and West to litigate the unpled issue of the constitutionality of the July 5,

2018 Protocol over their explicit objection, forcing them to do so four days after it




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was adopted denied them an opportunity to be heard, i.e., it denied them a full and

fair hearing.

      Miller’s, Sutton’s, and West’s state court action was initiated when, on

January 8, 2018, Defendant Tony Parker, the Commissioner of the Tennessee

Department of Correction, issued a new execution protocol. Among other changes,

the January 8, 2018 Protocol contained two options for carrying out a lethal

injection. The first, Protocol A (“Option A”), was materially identical to the one-drug

pentobarbital protocol contained in Tennessee’s prior protocol. The second, Protocol

B, was a new three-drug protocol utilizing Midazolam, vecuronium bromide, and

potassium chloride. Vol. II, p. 141. Plaintiffs, and other Tennessee death row

inmates, filed a complaint for declaratory judgment on February 20, 2018. The

complaint raised a facial challenge to the new protocol. It alleged, inter alia, the

new Protocol B (three-drug Midazolam protocol) (“Option B”) violates the Eighth

and Fourteenth Amendments to the United States Constitution. It also alleged

Option A (the one-drug pentobarbital protocol the State had retained from its prior

protocol) had been upheld as constitutional by the Tennessee Supreme Court and

was a “known and available alternative method of execution” under Glossip v.

Gross, 135 S. Ct. 2726 (2015).

      Both Option A and Option B appeared on the face of Tennessee’s protocol.

Under Tennessee law, for the purposes of a facial challenge, a protocol is assessed

on its face. Evidence to the contrary is irrelevant to the constitutionality of the

protocol. West v. Schofield, 460 S.W.3d 113, 126 (Tenn. 2015) (“The Protocol must be



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assessed on its face against the constitutional challenges levied by the Plaintiffs.”).

Plaintiffs’ pled alternative, Option A, the one drug protocol, continued to appear on

the face of Tennessee’s protocol until October 5, 2018, four days before trial.

      On October 5, 2018, Defendants adopted a new protocol. Unlike the January

8, 2018 Protocol, Option A did not appear on the face of the July 5, 2018 Protocol.

Despite their request made before the start of trial, as outlined above, Plaintiffs

were afforded neither the time, nor the process to pursue claims against a protocol

which did not, as did the January 8, 2018 Protocol challenged in the complaint,

contain on its face a constitutional alternate method of execution.

      Instead, the trial court went forward with trial on Plaintiffs’ complaint

alleging the unconstitutionality of the January 8, 2018 Protocol and, after the

evidence was closed, announced that what would actually be decided was the

constitutionality of the July 5, 2018 Protocol.

      For over 200 years, notice and an opportunity to be heard have been the sine

qua non of due process. Its purpose is to afford a person from whom life and liberty

are sought the opportunity to gather together the information necessary to defend

themselves. See Hagar v. Reclamation Dist. No. 108, 111 U.S. 701, 708 (1884). As

the Sixth Circuit has recognized, forcing a party to go to trial only days after the

opposing party’s conduct had imposed the burden of rebutting new defenses or

claims constitutes a denial of due process. N.L.R.B. v. Homemaker Shops, Inc., 724

F.2d 535, 548 (6th Cir. 1984) (“Company Counsel had only the period of Labor Day

weekend in which to examine and investigate the new allegation, and to locate,



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interview and secure the attendance of potential witnesses.”); see also Craddock v.

Colorado State Bd. of Assessment Appeals, 819 P.2d 1100, 1102 (Colo. App. 1991)

(Due process requires opportunity for Plaintiff to evaluate and challenge new facts

where opposing party altered facts three days prior to hearing.). Here, Defendants

changed the face of the January 8, 2018 Protocol on the eve of the trial of its facial

constitutionality to remove Plaintiffs’ pled alternative. After the trial was complete,

after it had ignored Miller’s, Sutton’s, and West’s request to allow them to file an

amended complaint challenging the new protocol, after it ignored their objection to

going forward with a hearing on anything other than the January 8, 2018 Protocol,

and after Plaintiffs’ case in chief was closed, the Chancery Court announced that

Plaintiffs had actually just finished a hearing on the July 5, 2018 Protocol adopted

four days before trial. The process afforded in Abdur’Rahmandid not afford Miller,

Sutton, and West a full and fair opportunity to present the claims they present

here.

                     b)    Collateral estoppel

        Under Vandercook, collateral estoppel bars only the re-litigation of those

issues actually presented and decided in the prior action. Miller, Sutton, and West

present no such issues here. In denying relief on Miller’s, Sutton’s, and West’s

Eighth Amendment challenge to Option B of the January 8, 2018 Protocol in

Abdur’Rahman, the Tennessee Supreme Court determined only that the Plaintiffs

had not demonstrated the availability of Option A, the one-drug pentobarbital-

based lethal injection protocol appearing on the face of the January 8, 2018



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Protocol. Here, Plaintiffs allege other feasible and readily implemented methods of

execution that in fact significantly reduces a substantial risk of severe pain. They

allege new facts not presented in Abdur’Rahman demonstrating the availability of

pentobarbital. They allege additional facts in support of their Eighth Amendment

claims based upon the manner in which Tennessee will apply the July 5, 2018

Protocol.

      The doctrine has no applicability here.

             2.      It is likely Plaintiffs’ can demonstrate the merit of each
                     count alleged in their complaint.

                     a)    Plaintiffs’ First Count, violation of the ex post facto
                           clause.

      “It is settled, by decisions . . . so well known that their citation may be

dispensed with, that any statute . . . which makes more burdensome the

punishment for a crime, after its commission . . . is prohibited as ex post facto.

Beazell v. Ohio, 269 U.S. 167, 169–70 (1925). It is likely Plaintiffs can establish the

July 5, 2018 Protocol creates a substantial risk Plaintiffs will experience severe

pain and suffering during their execution for a period of time many times longer

than they would experience the severe pain and suffering created by the means of

execution at the time of their crimes. Accordingly, it is likely they will prevail on

their First Count.

      The likelihood Plaintiffs can establish the 18-20 minutes of pain and

suffering created by the July 5, 2018 Protocol flows from the fact the Chancery

Court in Abdur’Rahman (even as it was holding the plaintiffs in that action had



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failed to demonstrate the availability of pentobarbital) credited the testimony of

those plaintiffs’ experts regarding the three-drug Midazolam-based lethal injection

protocol. And rightly so, as it included testimony from one of the most-respected

experts in the mechanism of action, and effect, of Midazolam in the human body in

the world, Dr. David Greenblatt; a detailed explanation of the biochemical processes

associated with Midazolam compared to those of the barbiturates previously used

for lethal injection; and, testimony describing the types of injuries inflicted by the

drugs used in the July 5, 2018 Protocol and the pain associated with those injuries.

Moreover, it contained the admission of the state expert witness whose testimony

was credited by the district court in Glossip that one of the primary studies upon

which he had relied did not support his opinion.

      Dr. Greenblatt graduated from Harvard Medical School in 1970.TE Vol.

XXVIII, p. 471; Greenblatt Curriculum Vitae, Ex. 38, Vol. V, p. 628. In 1979 he

joined the faculty at Tufts University School of Medicine. 5 There he has taught and

done research in clinical pharmacology for the 39 years. TE Vol. XXVIII, pp. 473-74;

Ex. 38, Vol. V, p. 628. He is licensed to practice and board certified in clinical

pharmacology. TE Vol. XXVIII, p. 474. Currently, he holds the position of Louis

Lasagna Professor of Pharmacology and Experimental Therapeutics at Tufts

University School of Medicine. Ex. 38, Vol. V, p. 628; TE Vol. XXVIII, p. 474-75. Dr.




      5 Counsel for Plaintiffs acknowledges that substantial credit for the
descriptions of the Abdur’Rahman record contained at pages 21-33 of Plaintiffs
motion must go to state court counsel for the Abdur’Rahman plaintiffs to that
action.
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Greenblatt has published more than 775 original research articles in peer-reviewed

journals, including at least 200 on the benzodiazepine class of drugs and 30 on

research specifically on Midazolam. TE Vol. XL, pp. 1534-35; Ex. 38, Vol. V, pp. 631-

87. He has been editor in chief for The Journal of Clinical Psychopharmacology and

Clinical Pharmacology in Drug Development, and a board member of many other

scientific and medical research journals. TE Vol. XXVIII, p. 476; Ex. 38, Vol. 5,

p. 630. In 1985, Dr. Greenblatt co-authored the article entitled “Midazolam:

Pharmacology and Uses.” Which reviewed the research on Midazolam at that time,

including the research that was done in preparation to submit Midazolam for FDA

approval. Ex. 40, Vol. 5, p. 711. It has been cited more than 1000 times. In addition,

he was part of a group of researchers that developed a method for measuring levels

of Midazolam in plasma in the early 1980’s, TE Vol. XXVIII, p. 480, and

participated in a number of studies of the drug including factors that influenced

how it is distributed, metabolized, and cleared in the body. TE Vol. XXVIII, p. 481.

He is, in short, one of the foremost experts on Midazolam in the entire world.

      His testimony, which was credited by the Chancery Court and left

undisturbed by the Tennessee Supreme Court in Abdur’Rahman, was unequivocal.

Midazolam in any amount will neither prevent the pain created by Tennessee’s

three-drug Midazolam-based protocol from reaching Plaintiffs’ brains, nor will it

prevent their brains from experiencing that pain once it gets there. Every expert

opinion claiming otherwise, including, specifically, the expert opinions relied upon




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the district court in Glossip in reaching its decision, a decision which the Supreme

Court credited in its opinion in Glossip, were, to put it bluntly, false.

      Dr. Greenblatt testified Midazolam induces sedation (sleep) by increasing the

frequency of the opening of the chloride channel in brain cells called GABA

Receptors. He stated the effect is innately limited because the channel can only

open so frequently. TE Vol. XXVIII, p. 499. Midazolam only alters the frequency of

the opening of the chloride channel, it has no effect on how long the channel

remains open. TE Vol. XXVIII, p. 493. The physical limitation of the frequency of

the opening of the chloride channel in turn places a ceiling on the number of

calming chloride ions that Midazolam can cause to enter the brain. He testified that

the physical limitation of the operation of Midazolam in humans – the increased

frequency of the pulsatile opening of the chloride channel in brain cells – and the

consequent ceiling effect is the reason that Midazolam is not used by itself to induce

general anesthesia in medical settings. TE Vol. XXVIII, p. 496. It is not capable of

creating a state where a person would not awaken when painful sensations reach

their brain. Critically, Dr. Greenblatt also testified Midazolam does nothing to

prevent painful sensations from reaching the brain. TE Vol. XXVIII, p. 498.

      Dr. Greenblatt testified that the injection of vecuronium bromide and

potassium chloride would cause horrible pain. As a paralytic it has no effect on

consciousness, so it does not render a person unaware of its effects. TE Vol. XXVIII,

p. 508. “[B]asically you’re suffocating and you want to breathe, but you can’t

because you can’t work your muscles.” TE Vol. XXVIII, p. 510. He added that



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potassium chloride, the last chemical in the protocol, is “extremely painful” when

injected in the concentration of solution called for under the protocol. TE Vol.

XXVIII, p. 509. He stated he has injected potassium chloride in a clinical setting

and said it has to be diluted “tremendously” and administered “very slowly. You

cannot give a fast injection of high concentration [of potassium chloride] because it’s

terribly painful.” TE Vol. XXVIII, p. 510. Dr. Greenblatt’s ultimate opinion was

that, due to Midazolam’s inability to induce general anesthesia at any dose, and its

complete lack of analgesic properties, the 500mg injection called for in the

Tennessee lethal injection protocol would not render a person insensate to

“extremely painful” effects of the injections of vecuronium bromide and potassium

chloride called for by the protocol. TE Vol. XXVIII, p. 511.

      In addition to describing Midazolam’s ineffectiveness and the pain inmates

would feel as a result of the lethal injection administered under the July 5, 2018

Protocol, Dr. Greenblatt explained how the use of Midazolam in the manner

prescribed under the protocol would cause additional pain and suffering above and

beyond that caused by vecuronium bromide and potassium chloride. He stated that

in order to make Midazolam soluble in solution for purposes of injection, its pH had

to be adjusted down to 3.5, the pH of strong acid. TE Vol. XXVIII, p. 495. After it is

injected, the human circulatory system naturally buffers the pH of the solution to

the normal 7.4. With clinical doses, this buffering process happens rapidly. TE Vol.

XXVIII, p. 528-29. However, an injection as large as that called for in the Tennessee

lethal injection protocol (500 mg) will take longer to buffer requiring a number of



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complete circulations, each requiring approximately 60 seconds. TE Vol. XXVIII, p.

546. Upon venous injection in the arm, the half-liter of solution called for in the

Tennessee lethal injection protocol would travel first to the heart and then directly

to the lungs. TE Vol XXVIII, p. 541. When the 3.5 pH solution reaches the lungs,

the effect is profound. As Dr. Greenblatt explained, the tissue in the lining of the

lungs is “very delicate.” A half-liter of pH 3.5 acid would immediately damage that

thin tissue. Fluid from the blood stream would immediately begin to leak through

the alveoli, causing pulmonary edema and making it increasingly difficult for

Plaintiffs to breathe. TE Vol. XXVIII, pp. 541-42.

      Dr. Greenblatt’s testimony was confirmed and illuminated by Plaintiffs’ other

expert witnesses.

      Dr. Craig W. Stevens, a Professor of Pharmacology from Oklahoma State

University. TE Vol. XXIV 72-165; Curriculum vitae, Ex. 4, Vol. 3, pp. 319-32, also

testified on Plaintiffs’ behalf. Dr. Stevens received his Ph.D. from the Mayo

Graduate School of Medicine. TE Vol. XXIV, p. 73; Ex. 4, Vol. 3, p. 319. He has

published over one-hundred peer-reviewed articles, book chapters and reviews and

is the co-author of the textbook, “Pharmacology,” which is presently in its 5th

Edition. TE Vol. XXIV, pp. 74-75; Ex. 4, Vol. 3, p. 329. His primary area of research

is neuropharmacology, the study of how drugs affect the brain. TE Vol. XXIV, pp.

74-75. His testimony confirmed Dr. Greenblatt’s description of the mechanism of

action of Midazolam and its limitations. In addition, he described the difference

between Midazolam and barbiturates, the class of drugs used for lethal injection



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prior the adoption of Midazolam as the first drug in the three-drug lethal injection

protocols.

      Barbiturates have two different mechanisms of action at the GABA receptor.

First, unlike Midazolam, they work with GABA and increase the duration that the

ion channel remains open. Second, they work independently of GABA to open the

ion channel. TE Vol. XXIV, pp 108-09. Their first mechanism of action lets in more

chloride ions and has a greater calming effect than does Midazolam’s mechanism of

action. TE Vol. XXIV, p. 107. Their second mechanism of action also allows for the

increased flow of chloride ions, but even without the presences of GABA, making

them much more potent than benzodiazepines. TE Vol. XXIV, pp. 107-10.

Barbiturates, however, have a third mechanism of action unconnected to the GABA

receptor. They block glutamate, an excitatory neurotransmitter, from binding to

glutamate receptors which transmit pain to the brain. TE Vol. XXIV, p. 111;

Neurotransmitters, Receptors and Effects on Neurons, Ex. 10, Vol. 3, p. 354. This

third mechanism of action, actually blocking pain, makes barbiturates much more

powerful than Midazolam. TE Vol. XXIV, p. 111. According to Dr. Stevens,

barbiturates, if given in sufficient quantity, with their three mechanisms of action,

can bring a person to a plane of general anesthesia, or even into a coma. TE Vol.

XXIV, pp. 115, 125. Midazolam and other benzodiazepines, with their limited

mechanism, cannot do so. TE Vol. XXIV, pp. 115, 125.

      Like Dr. Greenblatt, Dr. Stevens concluded, to a reasonable degree of

scientific certainty, that Tennessee’s three-drug protocol would cause “severe pain



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and terror.” TE Vol. XXV, p. 160. He explained that Midazolam was incapable of

rendering an inmate insensate to pain, and thus inmates would suffer suffocation,

and chemical burning. TE Vol. XXV, pp. 160-61. Midazolam is also incapable of

rendering the inmate insensate to pulmonary edema. TE Vol. XXV, pp. 161-62.

      Also like Dr. Greenblatt, he explained how vecuronium bromide is a muscle

paralytic. TE Vol. XXV, p. 153. He further explained, pharmacologically, how

vecuronium causes paralysis and how in human beings it causes progressive

paralysis: “it starts with the smaller facial muscles, works its ways eventually to

the skeletal muscles that…make our hands, arms and fingers move, and eventually

goes to the more internal muscles like the diaphragm and the intercostal muscles

that help you breathe.” TE Vol. XXV, pp. 154-55. At sufficient doses, respiration will

cease. TE Vol. XXV, p. 155. He added that if a person were not in a “state of general

anesthesia, and you’re using vecuronium, it can be quite horrific.” TE Vol. XXV,

p. 155. Midazolam is not capable of rendering the inmate insensate to suffocation,

caused by the paralysis of the lung muscles. TE Vol. XXV, pp. 156-57. Finally, he

confirmed Dr. Greenblatt’s conclusion that, due to the ineffectiveness of Midazolam,

an inmate injected with potassium chloride in the amount and concentration called

for by the July 5, 2018 Protocol will suffer extreme pain. TE Vol. XXV, pp. 158-60.

      The Plaintiffs’ third expert credited by the Chancery Court was Dr. Mark

Edgar, a diagnostic pathologist and associate professor of pathology at Emory

University. TE Vol. XXXIX, pp. 1380-82; Curriculum vitae Ex. 116, Vol. 11, pp.

1630-45. Dr. Edgar received his M.D. from Dalhousie University in Halifax, Nova



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Scotia, and underwent specialty training in neuropathology at Harvard Medical

School. TE Vol. XXXIX, p. 1380; Ex. 116, Vol. 11, pp. 1630-45. Before joining the

faculty at Emory, Dr. Edgar taught diagnostic surgical pathology at Cornell Medical

School and worked at Sloan Kettering Cancer Center. TE Vol. XXXIX, pp. 1381,

1388. Dr. Edgar testified that he reviewed twenty-seven autopsies of inmates

executed using Midazolam. TE Vol. XXXIX, pp.1386, 1455.

      Dr. Edgar testified that all of the lungs were heavy. He stated, “There were

none of them that were what I would expect, in the 350 to 400 grams range. But in

addition to that, they all showed – not all but the majority of them, over 85 percent

of them showed pulmonary edema. And that’s certainly not expected in someone

who dies instantaneously. And a good number of them showed fulminant

pulmonary edema, which indicates it’s sudden and severe.” TE Vol. XXXIX, pp.

1391-93. He went on to describe the progression of pulmonary edema as fluid

continues to accumulate in the lungs [as Dr. Greenblatt testified it would be due to

the use of Midazolam in the concentration and volume required under the July 5,

2018 Protocol]. “[P]ulmonary edema, when it begins, the patients are short of

breath. And they feel like they can’t catch their breath, and they breathe a bit

faster.” TE Vol. XXXIX , p. 1394. He continued “As it gets worse, they may have the

sense of air hunger and be gasping for air.” TE Vol. XXXIX, p. 1394-95. Dr. Edgar

testified that the pulmonary edema seen at autopsy would have caused the inmate

distress and suffering. TE Vol. XXXIX, p. 1468. Further, his review of the autopsies

indicated that the edema began some period of time before the inmates ceased to



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breathe—i.e. before the paralytic took effect—indicating that the Midazolam itself is

the likely cause of the edema.

      Plaintiffs’ fourth expert was Dr. David Lubarsky. Dr. David Lubarsky is

Chief Executive Officer of UC Davis Health. He is also Vice Chancellor for Human

Health Sciences at UC Davis. TE Vol. XLII, p.1718. He oversees the School of

Medicine, School of Nursing, UC Davis Medical Center, and Primary Care Network.

TE Vol. XLII, p. 1718; http://www.ucdmc.ucdavis.edu/leadership/index.html (last

checked November 3, 2018). Prior to assuming his new position at UC Davis, Dr.

Lubarsky was a tenured professor at the University of Miami where he served for

16 years in a number of roles, including chair of the Department of Anesthesiology.

TE Vol. XLII, p. 1718; Lubarsky Curriculum vitae, Ex. 130, Vol. 14, p. 2017. At the

time that Dr. Lubarsky accepted his position at UC Davis his primary academic

appointment was Chief Medical and Systems Integration Officer, University of

Miami Health System and Emanuel M. Papper Professor and Chairman

Department of Anesthesiology, Perioperative Medicine and Pain Management,

Professor of Anesthesiology with tenure, University of Miami Leonard M. Miller

School of Medicine. Ex. 130, Vol. 14, p. 2017.

      Dr. Lubarksy began his professional career at Duke University. At Duke, he

advanced to Vice Chairman and tenured professor in the Department of

Anesthesiology. TE Vol. XLII, p. 1721; Ex. 130, Vol. 14, p. 2018. There, he worked

alongside Dr. Jerry Reves and Dr. Peter Bailey. TE Vol. XLII, p. 1721. Dr. Reves

(who co-authored the classic research article on Midazolam with Dr. Greenblatt,



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Midazolam: Pharmacology and Uses, 62 Anesthesiology 310 (1985)) and Dr.

Lubarsky worked “very closely for a decade or so.” TE Vol. XLII, p. 1721. He

described Dr. Reves, Dr. Greenblatt’s co-author, as “an extremely profound and

advanced thinker … and did a lot of development around Midazolam[.]” TE Vol.

XLII, p. 1722.

      Dr. Lubarsky is the author of eight books on anesthesiology and co-wrote the

chapter on Intravenous Anesthetics in several editions of Miller’s Anesthesia, along

with Dr. Reves and Peter Glass. TE Vol. XLII 1727. Miller’s Anesthesia, a two-

volume treatise, is considered the “definitive textbook” in anesthesiology. TE Vol.

XLII, p. 1725. He has published 116 peer-reviewed journal articles, including

publications in the top journals in the field of anesthesiology. TE Vol. XLII, pp.

1734-35. He serves on numerous editorial boards for journals in his field, has given

more than 300 invited international presentations, has served as an officer in

professional organizations in his field, has conducted research in the field of

anesthesiology, and has received numerous professional accolades. TE Vol. XLII, pp.

1735-39; Ex. 130, Vol. 14, p. 2018-68. Finally, he is also certified in pain

management. TE Vol. XLII, p. 1746.

      Dr. Lubarsky testified he has used Midazolam in his practice and is familiar

with its strengths and weaknesses and stated “[Midazolam] is one of the most

studied, most understood drugs in the anesthesia [armamentarium] of drugs,

because we know a lot about its receptors, the drugs, it’s an agonist, its impact on

single neurons as well as [whole] organisms. There’s no debate about Midazolam at



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all nor has there been for many years since – Dr. Greenblatt actually did a lot of the

elucidating work on the drug.” TE Vol. XLII, p. 1742. He testified Midazolam has no

pain relieving properties. Midazolam cannot be used as a general anesthetic. After

confirming the science described by Drs. Greenblatt and Stevens, Dr. Lubarsky

went on to explain that there are “a known set of chemicals that work in opposition

to GABA. So epinephrine, dopamine, serotonin, there’s a bunch of

neurotransmitters that are excited [by stimuli.]” TE Vol. XLII, p. 1753. Noxious

stimuli will activate these excitatory neurotransmitters. “[T]he brain gets a signal

wherever it is in the body and it says I’m going to fire some exciting stuff and it’s

going to overcome the inhibitory neurons … our job as anesthesiologists is to make

sure that the inhibitory neurons are … the ones that are predominantly there.” TE

Vol. XLII, p. 1753. He testified that Midazolam is “absolutely not” the type of drug

that can prevent a person from being roused by pain if it is the only drug being

used. TE Vol. XLII 1755. “[T]his has been established in the literature.” TE Vol.

XLII, p. 1755. “Indeed, the scientific literature establishes that “people respond to

noxious stimuli when they have just Midazolam on board. It is not a debatable

point.” TE Vol. XLII, p. 1756. Dr. Lubarsky testified specifically, “It will not make

someone insensate and unresponsive to noxious stimuli.” TE Vol. XLII, p. 1810.

      Dr. Lubarsky also testified about the pain which would be experienced by a

sensate inmate subjected to the three-drug Midazolam-based lethal injection

protocol set out as Protocol B of the January 8, 2018 Protocol. Vecuronium bromide

does not alter or enhance the mechanism of action of Midazolam. TE Vol. XLII, p.



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1817. It does not protect the inmate from sensing noxious stimuli. Rather, “it

paralyzes you and prevents anyone from seeing any sign of distress that you might

voice or move or try to express.” TE Vol. XLII, p. 1821. Vecuronium Bromide acts as

a stimulus and increases the risk of pain. TE Vol. XLII, p. 1821. He described the

effect of the administration of Vecuronium Bromide to a person who was not in a

plane of general anesthesia as, “[L]ike burying someone alive. They lose the ability

to communicate their distress. They lose the ability to breathe. They still have the

air hunger. It’s as if you’re basically locked in a box and someone now has basically

covered your mouth and you can’t [breathe] and your lungs and your brain are

screaming. TE Vol. XLII, p. 1774. As for the Potassium Chloride, Dr. Lubarsky

testified he has observed that the administration of extremely small amounts of the

drug “cause a patient to scream out in pain,” TE Vol. XLII, p. 1776, and that

administration of the massive amount of Potassium Chloride called for in

Tennessee’s protocol will be “akin to being burnt alive.” TE Vol. XLII, p. 1776. Dr.

Lubarsky testified that he agreed with Dr. Greenblatt and Dr. Edgar’s opinion that

Midazolam appears to be caustic to the pulmonary lining resulting in pulmonary

edema. TE Vol. XLII, p. 1813. Dr. Lubarsky has attended patients with pulmonary

edema. Dr. Lubarsky opined that severe pulmonary edema is a noxious stimulus

that would rouse a deeply sedated inmate. “You feel like you can’t draw breath.” TE

Vol. XLII, p. 1822.

      Though unnecessary to establish a likelihood of success given the Chancery

Court heard both sides’ experts and credited Plaintiffs’ experts, the record from



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Abdur’Rahman demonstrates that Roscoe Lee Evans, the witness upon whose

opinion the vast majority of cases upholding the three-drug Midazolam-based

protocol has either directly or indirectly relied, including Glossip, was forced to

retreat from his prior opinions. He admitted Midazolam is not an analgesic. TE Vol.

XLV, p. 2148. He admitted that Miller’s Anesthesia is an authoritative text and that

it teaches that “benzodiazepines lack analgesic properties and must be used with

NSAID drugs to provide sufficient analgesics.” TE Vol. XLV, p. 2157. Evans

admitted that Dr. Greenblatt is the one of the leading scholars in the area of

benzodiazepines in the country. TE Vol. XLV, p. 2168. (Dr. Greenblatt’s research is

the research which establishes that Midazolam has a ceiling effect. Ex. 40, Vol. V,

pp. 711-25.) Evans did not challenge Dr. Greenblatt’s research and methodology,

instead he deferred to it. TE Vol. XLV, p. 2168. Finally, he admitted that the only

study he had offered to support his core opinion that the studies establishing ceiling

effect did not consider the massive dose of Midazolam used in lethal injections, the

Hall Study, actually suggests that, even with massive doses of Midazolam used in

lethal injections, the ceiling effect limits its effectiveness just as determined in the

research of Dr. Greenblatt and others. TE Vol. XLV, p. 2168.

      Finally, the State of Tennessee’s own records of the only execution carried out

under Tennessee’s July, 8, 2018 Protocol challenged here, the August 9, 2018

execution of Tennessee inmate Billy Ray Irick, lasted twenty minutes. Complaint,

R. 1, Attachment 10.




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      It might be said that 20 minutes of the pain described by Plaintiffs’ experts

render Tennessee’s July 5, 2018 Protocol more painful, (even when executed

perfectly and upon an average, healthy inmate) than any method of execution

carried out since the founding of our nation. The issue here, however, is only

whether there is a likelihood Plaintiffs can demonstrate it is more painful than the

method of execution at the time Plaintiffs committed the offenses of which they

were convicted. Beazell v. Ohio, 269 U.S. 167, 169–70 (1925). That method was

death through electrocution. Plaintiffs have alleged, and likely can demonstrate, see

§III.B, electrocution inflict intolerable pain given the court’s opinions in State v.

Mata, 745 N.W.2d 229, 278 (Neb. 2008) and Dawson v. State, 554 S.E.2d 137, 144

(Ga. 2001). However, Tennessee’s current electrocution protocol demonstrates it is

likely Plaintiffs will suffer that pain for only six minutes. Complaint, R.1,

Attachment 1, p. 42. In addition, those cases addressing the applicability of the ex

post facto clause when a state adopts a harsher punishment for a past act, unlike

those addressing Eighth Amendment challenges to a state’s method of execution, do

not require Plaintiffs to demonstrate a feasible and readily implemented method of

execution that in fact significantly reduces a substantial risk of severe pain in order

to prevail. Even if such a requirement were suddenly grafted on to existing ex post

facto jurisprudence, Plaintiffs’ have, as discussed further herein, alleged feasible

and readily implemented methods of execution that in fact significantly reduce a

substantial risk of severe pain inherent in electrocution, feasible and readily

implemented methods of execution that in fact significantly reduces a substantial



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risk of severe pain inherent in the July 5, 2018 Protocol, some of which reduce that

risk as to both.

       There is a likelihood Plaintiffs will prevail on their First Count.

                    b)     Plaintiffs’ Second Count, Plaintiffs’ execution by
                           means of electrocution violates the Eighth and
                           Fourteenth Amendments.6

       Unlike Mr. Zagorski, who was executed by electrocution last night, Plaintiffs

have not waived their right to claim that electrocution violates the Eighth and

Fourteenth Amendments. As alleged herein, Defendants will carry out their

executions should they elect electrocution, even though such an election would have

been compelled by the credible threat of a harsher punishment than that which

could have been inflicted upon them at the time of the crimes of which they were

convicted (i.e. a punishment which cannot constitutionally be imposed upon him),

their waiver would violate the Fourteenth Amendment’s guarantee of substantive

and procedural due process. See §III.D. See also Garnica v. United States, 361

F. Supp. 2d 724, 732 (E.D. Tenn. 2005) (“[A] guilty plea may be involuntary where

induced by threats, misrepresentation, or promises ‘that are by their nature

improper.’ Mabry v. Johnson, 467 U.S. 504, 509 (1984)”). Plaintiffs’ claim against

execution by electrocution not only was not, but could not have been, raised during

Abdur’Rahman. See West v. Schofield, 468 S.W.3d 482, 494 (Tenn. 2015) (“The

Electrocution Causes of Action depend entirely on future and contingent events that




6Plaintiffs note that their second count is alleged both as an independent cause of
action and in support of the relief sought for its first count.
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have not occurred and may never occur, and as a result, are unripe and

nonjusticiable.”) Accordingly, Plaintiffs’ likelihood of success must be determined

solely based upon the merits of their claim. Based upon its merits, there exists a

likelihood Plaintiffs will prevail on their Second Count.

      First, it is likely Plaintiffs’ can demonstrate execution by electrocution poses

a constitutionally unacceptable risk of unnecessary pain and suffering. In fact, the

last two courts to hold full hearings on the constitutionality of electrocution so

found. In Dawson v. State, the Georgia Supreme Court found electrocution “involves

more than the mere extinguishment of life, and inflicts purposeless physical

violence and needless mutilation” Dawson v. State, 554 S.E.2d 137, 143 (Ga. 2001).

In State v. Mata, the Nebraska Supreme Court found “There is also no question that

its continued use will result in unnecessary pain, suffering, and torture for some,

but not all of [the] condemned murderers in this state.” State v. Mata, 745 N.W.2d

229, 272 (Neb. 2008). Second, Plaintiffs have proposed three alternative methods of

execution which feasible and readily implemented methods of execution that in fact

significantly reduces a substantial risk of severe pain inherent in electrocution. See

R1. Count Two, §I. Two of those methods are either currently recognized as methods

of execution being used and/or available for use in other jurisdictions, id. at §I.A

and §I.C and Plaintiffs have alleged facts demonstrating how they may be carried

out in Tennessee. The third, see §I.B involves the administration of drugs available

on the open market and which Tennessee’s sister state, Ohio, has admitted they can

obtain through ordinary transactional effort.



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      There is a likelihood Plaintiffs will prevail on Count Two.

                    c)     Plaintiffs’ Third Count, Plaintiffs’ execution by
                           means of the July 5, 2018 Protocol violates the Eighth
                           and Fourteenth Amendments.

      Plaintiffs are also likely to prevail on their challenge to the constitutionality

of Tennessee’s July 5, 2018 Protocol. When Plaintiffs Miller, Sutton, and West

challenged Protocol B of the January 8, 2018 Protocol, a three-drug Midazolam-

based protocol similar to the July 5, 2018 Protocol Defendants intend to use to

execute all Plaintiffs to this action, the testimony of Miller’s, Sutton’s, and West’s

experts was credited over the testimony of the experts offered by Defendants. It is

likely that testimony, summarized above in §III.A., establishes the first Glossip

prong. In addition to such evidence, Plaintiffs have alleged additional facts,

supported by their prison medical records, demonstrating how their unique physical

characteristics will increase the already-constitutionally intolerable pain they

would have suffered during their executions even had those characteristics not

existed.

      The only basis provided by the Abdur’Rahman court for denying relief was its

claim the plaintiffs to that action failed to provide sufficient facts to establish the

availability of the pentobarbital required to carry out Protocol A of the January 8,

2018 Protocol. In this action, Plaintiffs have now alleged additional facts to

establish the availability of pentobarbital. See Count Three, §I.C. Plaintiffs have

also alleged three additional alternative methods of execution which feasible and

readily implemented methods of execution that in fact significantly reduces a



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substantial risk of severe pain inherent in electrocution. One of those methods is

currently recognized as methods of execution being used and/or available for use in

other jurisdictions. See Count Three §I.A. One of those methods involves the

administration of drugs available on the open market and which Tennessee’s sister

state, Ohio, has admitted they can obtain through ordinary transactional effort. See

Count Three §I.B. The final method involves nothing more than removing

vecuronium bromide from Tennessee’s current protocol. Un-contradicted evidence in

the Abdur’Rahman record establishes the method reduces the period of torture

Plaintiffs will experience under the July 5, 2018 Protocol.

      There is a likelihood Plaintiffs will prevail on their Third Count.

                     d)   Plaintiffs’ Fourth Count, coerced waiver of Eighth
                          and Fourteenth Amendment Rights.

      As set forth in Plaintiffs’ Complaint, (R. 1, p. 119), Defendants will present

Plaintiff David Earl Miller with an Affidavit Concerning Method of Execution

electing electrocution (see R.1, Attachment 4, p. 92) on or before November 6, 2018,

compelling him to either waive his rights to be free from punishments which violate

Eighth Amendment or to suffer an even greater punishment prohibited under the ex

post facto clause.

      To obtain a waiver of constitutional rights through a credible threat of legally

unjustified violence violates the Fifth and Fourteenth Amendments. Arizona v.

Fulminante, 499 U.S. 279, 307 (1991); United States v. Ray, 803 F.3d 244, 265 (6th

Cir. 2015). As set forth above, see §III.A., unless prevented from doing so by this

Court, Defendants will execute Plaintiffs by a method of execution, the July 5, 2018

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Protocol, more onerous than death by electrocution, the method of execution which

was to be inflicted upon them at the time of the crimes of which they were convicted

– a violation of the ex post facto clause. The only manner in which Plaintiffs may

avoid that violation is by waiving their right to be free from the infliction of a

punishment prohibited by the Eighth and Fourteenth Amendments by executing an

Affidavit Concerning Method of Execution electing electrocution. R.1, Attachment 4,

p. 92.

         Defendants’ threat to execute Plaintiffs in manner which violates the ex post

facto clause unless they submit to a method of execution which violates the Eighth

Amendment is, at a minimum, credible. On October 8, 2018, Defendants executed

inmate Billy Ray Irick with a method of execution more onerous that electrocution,

the July 5, 2018 Protocol, after he refused to execute an Affidavit Concerning

Method of Execution. Defendants then attempted to execute inmate Edmond

Zagorski under the July 5, 2018 Protocol, a method which violated the ex post facto

clause, against his wishes because he had failed to execute an Affidavit Concerning

Method of Execution. See Zagorski v. Haslam et al., Case No. 3:18-cv-01035 (M.D.

Tenn), R.8. (opposing Zagorski’s motion for injunction). Only after Mr. Zagorski had

taken actions sufficient to waive his right to challenge the constitutionality of

electrocution7 did Defendants’ withdraw their threat. See Motion to Dismiss,

Zagorski, Case No. 3:18-cv-01035 (M.D. Tenn. Oct. 22, 2018) R.12; Id. Motion for



7 See Memorandum and Order, Zagorski v. Haslam et al., Case No. 3:18-cv-01205
(M.D. Tenn. Oct. 26, 2018) R.8 (finding Mr. Zagorski had waived his right to
challenge electrocution in Case No. 3:18-cv-01035)
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Entry of Judgment, (Oct. 24, 2018) R.15. On November 1, 2018, following Mr.

Zagorski’s waiver, Defendants executed Edmond Zagorski by a method of execution

which (as Plaintiffs here are likely to demonstrate) violates the Eighth and

Fourteenth Amendments.

      Defendants’ threat, indeed their promise, to execute Plaintiffs by a method of

execution which violates the ex post facto clause unless they submit to a method of

execution which violates the Eighth Amendment by executing the Affidavit

Concerning Execution is real and credible. Accordingly, there is a likelihood

Plaintiffs will prevail on their Fourth Count.

                    e)     Plaintiffs’ Fifth Count, access to the courts during
                           their executions.

      As set forth in Plaintiffs’ Complaint, (R. 1, p. 121), Plaintiffs allege

Defendants’ refusal to afford their counsel who are present to observe their

executions access to a telephone in order to make and/or maintain contact with the

court deprives them of their rights of access to the court. Given that the court in

Zagorski v. Haslam et al., Case No. 3:18-cv-01205 (M.D. Tenn. Oct. 26, 2018) found

Zagorski’s counsel was entitled to essentially the relief here and Defendants

voluntarily provided the same, there is a likelihood Plaintiffs will prevail on their

Fifth Count.

      B.       Because Plaintiffs can show a likelihood of success on the
               merits, the remaining Rule 65 factors also weigh in Plaintiffs’
               favor.

      Plaintiff David Earl Miller’s execution date is presently set for December 6,

2018, barely more than a month away. Obviously, that is an event which cannot be

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undone should the Court eventually rule in Plaintiffs’ favor. The Court, however,

need not take a black and white approach in considering these factor in order to

determine it weighs strongly in Miller’s favor. This is because the likelihood of

irreparable harm to Miller is intertwined with the likelihood described above Miller

will prevail on the merits. See Ramirez v. McCraw, 715 F. App'x 347, 350 (5th Cir.

2017) (“Despite the obvious presence of irreparable harm, factors such as the

likelihood of success on the merits must still be weighed, and the movant must

present a substantial case on the merits.”).

         Because it is likely that Miller’s execution can be carried out only by violating

the Constitution, the harm he will suffer is great while the harm the state suffers is

minimal

         Finally, and relatedly, the State's alleged harm is all the more
         ephemeral because the public has no interest in the enforcement of
         what is very likely an unconstitutional statute. As a panel of this Court
         recently explained, “[f]rustration of federal statutes and prerogatives
         are not in the public interest, and we discern no harm from the state's
         nonenforcement of invalid legislation.” United States v. Alabama, 691
         F.3d 1269, 1301 (11th Cir.2012). In short, the injunction did not
         disserve the public interest.

Odebrecht Const., Inc. v. Sec'y, Fla. Dep't of Transp., 715 F.3d 1268, 1290 (11th Cir.

2013).

         Further, as Odebrecht observes, not only is the harm to Defendants minimal

when it is likely the actions sought to be enjoined are unconstitutional, the public

itself has no interest in the state going forward.




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III.     Conclusion

         Plaintiffs have demonstrated they are likely to prevail. Given that fact, the

remaining factors to be considered under Rule 65 weigh in favor of preliminary

injunctive relief in order to afford this Court the opportunity to consider Plaintiffs’

likely-meritorious claims just as it would any other action brought before this

Court.

         Counsel for Plaintiffs has reached out to opposing counsel seeking a date for

an initial hearing on Plaintiffs motion. Opposing counsel responded by email that

he is currently ill but will be available to discuss this matter on Monday, November

5, 2018. After conferring with opposing counsel, Counsel for Plaintiffs will promptly

advise the Court of any agreed-upon hearing date.

         WHEREFORE Plaintiffs pray this Court set this matter for hearing and

thereafter enter a preliminary injunction enjoining Defendants, their agents, and

assigns from carrying out the execution of Plaintiff David Earl Miller presently set

for the 6th day of December, 2018, from presenting Plaintiff Miller with that

“Affidavit Concerning Method of Execution” contained in Tennessee’s July 5, 2018

Lethal Injection Protocol, from setting execution dates for Plaintiffs Sutton, West,

and King and from denying Plaintiffs’ counsel observing their executions telephone

access during Plaintiffs’ executions until such time as a final order has been entered

herein.




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                                        Respectfully submitted,

                                        FEDERAL DEFENDER SERVICES
                                        OF EASTERN TENNESSEE, INC.

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                              CERTIFICATE OF SERVICE

       I hereby certify that on November 2, 2018, this Motion for Temporary
Restraining Order and/or Preliminary Injunction was filed electronically.
Defendants have not yet appeared in this case and will not be served via operation
of the Court’s electronic filing system. Notice of this filing was sent via email and
regular U.S. Mail to Scott C. Sutherland who has agreed to accept service for the
defendants. Parties may access this filing through the Court’s electronic filing
system.


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                                               s/Stephen M. Kissinger
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